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Attomeys for Plaintiff


                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 I.]NITED STATES OF AMERICA,               ) No. 3: I 9-cr-00057-SLG-MMS
                                           )
                     Plaintiff,            )
                                           )
                                             PLEA AGREEMENT
                                           )
                                           )
 MICHAEL DON ROBERTSON,
                                           )
                     Defendant.            )
                                           )
                                           )




             Unless the parties jointly inform the Court in writing of any
             additional agreements, this document in its entirety
             contains the terms of the plea agreement between the
             defendant and the United States. This agreement is limited
             to the District of Alaska; it does not bind other federal,
             state, or local prosecuting authorities.




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I.     SUMMARY OF AGR"EEMENT, FEDERAL RULE OF CRIMINAL
       PROCEDURE II

       A.     Summary of Agreement

       The defendant agrees to plead guilty to the following count(s) of the lnformation in

this case: Count 1: Conspiracy to Commit Controlled Substance Fraud, in violation of                2l

U.S.C. $$ 843(a)(3) and 846; and Count 2: Health Care Fraud, in violation of 18 U.S.C.

$ 1347. The parties are free to argue for any sentence authorized by law.

       The United States agrees not to prosecute the defendant further for any other offense

related to the event(s) that resulted in the charge(s) contained in the Information.

       The defendant willwaive all rights to appeal the conviction(s) and sentence imposed

under this agreement. The defendant        will   also waive all rights to collaterally attack the

conviction(s) and sentence, except on the grounds of ineffective assistance of counsel or

the voluntariness ofthe plea(s).

       The defendant agrees not to apply for a DEA registration for a period              of l0   years

following the date the Court accepts this plea agreement.

       B.     Federal Rule of Criminal Procedure              1l

       Unless the parties otherwise inform the Court in writing, Federal Rule of Criminal

Procedure   ll(c)(l)(A)   and (B)   will control this plea agreement. Thus, the defendant may

not withdraw from this agreement or the guilty plea(s)             if   the Court rejects the parties'

sentencing recommendations at the sentencing hearing.




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II.    CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
       AND OTHER MATTERS AFFECTING SENTENCE

       A.      Charges

               l.      The defendant agrees to plead guilty to the following count(s) of

                       the Information:

       Count   l:   Conspiracy to Commit Controlled Substance Fraud, a violation             of

                    21 U.S.C. $$ 843(aX3) and 846; and

       Count   2: Health   Care Fraud, a violation    ol l8 U.S.C. $ 1347

       B.      Elements

       The elements of the charge(s) in Count               I   :   Conspiracy   to Commit Controlled

Substance Fraud, a violation    of2l   U.S.C. $$ 8a3(a)(3) and 846, to which the defendant is

pleading guilty, are as follows:

               l.      There was an agreement among two or more persons to acquire or

                       obtain possession    of a controlled           substance by misrepresentation,

                       fraud, forgery, deception, or subterfuge; and

               2.      The defendant joined in the conspiracy, knowing of its purpose, and

                       intending to help accomplish that purpose; and

               3.      With the intent to accomplish the purpose of the conspiracy, the

                       defendant knou'ingly distributed controlled substances outside the

                       usual course ofprofessional practice and without a legitimate medical

                       purpose, and did so with intent to distribute controlled substances

                       outside the course of professional practice.



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       The elements of the charge(s) in Count 2: Health Care Fraud, a violation                 of l8

U.S.C. $ 1347, to which the defendant is pleading guilty, are as follows:

              I   .   The defendant knowingly and willfully executed, or attempted to

                      execute, a scheme or artifice in connection with the delivery of or

                      payment for health care benefits, items, or services; and

              2.      The scheme or artifice was to delraud any health care benefit program

                      or to     obtain,   by   means         of   false   or   fraudulent   pretenses,

                      representations, or promises, any ofthe money or properry owned by,

                      or under the custody or control of, any health care benefit program.

       C.     Factual Basis

       The defendant admits the truth of the allegations in Counts 1 and                     2 of   the

lnformation and the truth ofthe following statement, and the parties stipulate that the Court

may rely upon this statement to support the factual basis for the guilty plea(s) and for the

imposition of the sentence:

       During the period of approximately November 8. 1999. until and including May 3,

2018, the defendant, Michael Don Robertson, held Alaska Medical License #MEDO4338,

which was issued by the Alaska State Medical Board. The defendant also had a DEA

number that allowed him to issue prescriptions for controlled substances.

       During the period of approximately May 15, 2015, until and including March 19,

2018, within the District of Alaska, the defendant knowingly and intentionally distributed

controlled substances outside the usual course of professional practice and without                   a




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legitimate medical purpose, and the defendant did so with the intent to distribute them

outside the course of medical practice.

       Specifically, the defendant issued 465 prescriptions for meperidine to 30 different

recipients, totaling 32,109 meperidine pills. Meperidine, commonly known as Demerol, is

a Schedule   II controlled substance. Meperidine is an opioid with   an abuse   liability similar

to morphine.

       In this   case, the 465 meperidine prescriptions were outside the course        of   usual

medical practice because the defendant knew that the recipients did not truly need

meperidine for a legitimate medical purpose. Rather, the defendant issued the meperidine

prescriptions as part ofa conspiracy in which recipients filled the meperidine prescriptions

and, then, distributed the meperidine     to the defendant. In exchange for the recipients

diverting the meperidine to the defendant, the defendant provided prescriptions for

controlled substances (including Fentanyl and Oxycodone) to the recipients. The 32,109

meperidine pills had a retail value of approximately $128,436    ($ /pill)   and a street value

of approximately $192,654 ($6/pill;.

       Further, the defendant failed to make and preserve accurate records regarding

approximately 790 prescriptions for controlled substances. The defendant failed to keep

any medical records whatsoever regarding five patients to whom he wrote prescriptions for

controlled substances. The defendant caused claims to be submitted to Medicaid regarding

these 790 prescriptions, resulting in Medicaid paying $3,286.87 to the defendant's medical

practice based on those claims. Further, Medicaid paid $3,601.52 to pharmacies for these




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790 controlled substance prescriptions. These claims were a scheme to obtain, by means

of false or lraudulent pretenses, money under the custody or control of Medicaid.

       Medicaid is    a   health care benefit program, as that term is defined in l8 U.S.C. $ 24,

because   it is a public or private plan or contract, affecting cofirmerce, under which any

medical benefit, item, or service is provided to any individual, and includes any individual

or entity who is providing a medical benefit. item, or service for which payment may be

made under the plan or contract

       D.      Statutory Penalties and Other Matters Affecting Sentence

               l.         Statutory Penalties

       The marimum statutory penalties applicable to the charges to which the delendant

is pleading guilty, based on the facts to which the defendant       will admit in support of the

guilty plea(s), are as follows:

       Count   l:   Conspiracy to Commit Controlled Substance Fraud, in violation      of

                    2l U.S.C. $$ 8a3(aX3)    and 846:

               I   ) A term of imprisonment of not more than 4 years;

               2) A fine ofnot more than $250,000.00;

               3) Supervised release ofnot more than 3 years; and

               4) A mandatory special assessment of $100.00.

       Count 2: Health Care Fraud, in violation of 18 U.S.C. $ 1347:

               I   ) A term of imprisonment of not more than l0 years;

               2) A fine ofnot more than $250,000.00;

               3) Supervised release ofnot more than 3 years; and

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               4) A mandatory special assessment of            $   100.00.

               2.     Other Matters Affecting Sentence

                                Conditions Affecting the Defendant's Sentence
                      ^.
        The following conditions may also apply and affect the defendant's sentence:

l)   pursuant to Comment 7 of U.S.S.G. $ 5E1.2, the Court may impose an additional fine

to pay the costs to the govemment of any imprisonment and supervised release term;

2) pursuant to l8 U.S.C.$ 3612(f), unless otherwise ordered, if the Court imposes a fine              of

more than $2,500, interest   will   be charged on the balance not paid       within   15 days after the

judgment date; 3) upon violating any condition of supervised release, a further term                  of

imprisonment equal to the period of the supervised release may be imposed, with no credit

for the time already spent on supervised release; 4) the Court may order the defendant to

pay restitution pursuant   to   the 18 U.S.C.   S   3663 and U.S.S.G. S 5El.l, and        if   18 U.S.C.


$   36634 (mandatory restitution for certain crimes) applies, the Court shall order the

defendant to pay restitution.

                      b.        Payment of Special Assessment

        The defendant agrees to pay the entire special assessment in this case on the day the

Court imposes the sentence. All payments will be by check or money order, and are to be

delivered to the Clerk of Court, United States District Court, 222 W . 7th Ava Box 4, Rm.

229, Anchorage. AK 99513-7564.

                      c.        Consequences of Felony Conviction

        Any person convicted of a federal felony offense may lose or be denied federal

benefits including any grants, loans, licenses, food stamps, welfare or other forms ofpublic

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assistance, as   well   as the   right to own or possess any firearms, the right to vote, the right to

hold public office, and the right to sit on       a   jury. If   applicable, any defendant who is not a

United States citizen may be subject to deportation from the United States following

conviction for a criminal offense, be denied citizenship, and not permitted to retum to the

United States unless the defendant specifically receives the prior approval of the United

States   Attomey General. In some circumstances, upon conviction for a criminal offense,

any defendant who is a naturalized United States citizen may suffer adverse immigration

consequences, including but not limited to possible denaturalization.

         E.      Restitution

         The parties agree that the defendant         will owe $6,888.39 in restitution to Medicaid.

The Court will have sole discretion ultimately to determine if the defendant has liability

for any additional restitution.

         F.      DEA registration

         The defendant agrees not to apply for a DEA registration for a period of 10 years

following the date the Court accepts this plea agreement.

III.     ADVISORY UNITED STATES SENTENCING GUIDELINES, GUIDELINE
         APPLICATION AGREEMENTS, SENTENCING RECOMMENDATIONS

         A.      Advisory United States Sentencing Guidelines

         The Court must consult the advisory United States Sentencing Commission

Guidelines [U.S.S.G.] as well as the factors set forth                  in l8   U.S.C. $ 3553(a) when

considering the sentence to impose. The U.S.S.G. do not establish the statutory maximum

or minimum sentence applicable to the offense(s) to which the defendant is pleading guilty.



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The U.S.S.G. are not mandatory and the Court is not bound to impose a sentence

recommended by the U.S.S.G.

       B.      GuidelineApplicationAgreements

       The parties have no agreements on any guideline applications unless set forth below

in this section.

               l.       Acceptance of Responsibility

       If the United   States concludes that the defendant has satisfied the criteria set out    in

U.S.S.G. $ 3El.l and the applicable application notes, the United States agrees to

recommend the defendant           for a two level downward       adjustment   for   acceptance   of

responsibility and,    if   U.S.S.G. g 3El.l(b) applies, to move for the additional one level

adjustment for acceptance of responsibility.          If, at any time prior to imposition of the

sentence, the United States concludes that the defendant has failed           to fully satisfy the

criteria set out in U.S.S.G. $ 3El.l, or has acted in a manner inconsistent with acceptance

of responsibility, the United States will not make or, if already made, will withdraw this

recommendation and motion.

               2.       Aggravating role

       The parties agree that the defendant was an organizer or leader ofa criminal activity

that involved five or more participants or was otherwise extensive. Therefore, the adjusted

offense level will be increased four levels, per U.S.S.G. $     38l.l(a).




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              3.     Abuse of trust

       The parties agree that the defendant abused a position ofpublic or private trust in a

manner that significantly facilitated the commission         or concealment of the    offense.

Therefore, the adjusted offense level will be increased two levels, per U.S.S.G. $ 38 1.3.

       C.     SentencingRecommendations

       The United States Probation Office will prepare the defendant's pre-sentence report

in which it will include a recommended calculation ofthe defendant's sentence range under

the U.S.S.G. Both the United States and the defendant will have the opportunity to argue

in support of or in opposition to the guideline sentence range calculation the U.S.P.O.

recommends, as     well as present evidence in support of their respective         sentencing

arguments.

       The parties are free to recommend to the Court their respective positions on the

appropriate sentence to be imposed in this case based on the stipulated facts set forth in

Section II.C, any additional facts established at the imposition of sentence hearing, the

applicable statutory penalty sections, the advisory U.S.S.G., and the sentencing factors set

forth in l8 U.S.C. S 3553.

Iv.    ADDITIONAL AGREEMENTS BY UNITED STATES

       ln exchange for the defendant's guilty plea(s) and the Court's       acceptance   of the

defendant's plea(s) and the terms of this agreement, the United States agrees that it will not

prosecute the defendant further for any other offense       - now known -   arising out of the

subject of the investigation related to the charges brought in the Information in this case

and the defendant's admissions set forth in Section II.C.

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       Provided, howeveq       if   the defendant's guilty plea(s) or sentence is/are rejected,

withdrawn, vacated, reversed, set aside, or modified, at any time, in any proceeding, for

any rqrson, the United States       will be free to prosecute the defendant on all charges arising

out of the investigation of this case including any charges dismissed pursuant to the terms

of this agreement, which charges will be automatically reinstated as well as for perjury and

false statements. The defendant hereby agrees that he/she waives any defense that the

statute of limitations bars the prosecution of such a reinstated charge.

V      WAIVER OF TRIAL RIGHTS, APPELLATE RIGHTS, COLLATERAL
       ATTACK RIGHTS, CLAIM FOR ATTORNEY FEES AND COSTS, AND
       RULE 4IO

       A.     Trial Rights

       Being aware of the following, the defendant waives these trial rights:

                  If   pleading to an Information, the right to have the charges presented to

                 the grand jury prior to entering the guilty plea;

                  The right to a speedy and public trial by jury on the factual issues

                  establishing guilt or any fact affecting the mandatory minimum and

                  statutory penalties, and any issue affecting any interest in any assets

                  subject to forfeiture;

                  The right to object to the composition of the grand or trial jury;

                 The right to plead not guilty or to persist in that plea if it has already been

                  made;




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                   -     The right to be presumed innocent and not to suffer any criminal penalty

                         unless and until the defendant's guilt is established beyond a reasonable

                         doubt;

                   -    The right to be represented by counsel at trial and if necessary to have a

                        counsel appointed at public expense to represent the defendant at trial    -
                        the defendant is not waiving the right to have counsel continue to

                        represent the defendant during the sentencing phase ofthis case;


                   -    The right to confront and cross examine witnesses against the defendant,

                        and the right to subpoena witnesses to appear in the defendant's behalf;


                   -    The right to remain silent at trial, with such silence not to be used against

                        the defendant, and the right to testiff in the defendant's own behalf; and

                   -    The right to contest the validity of any searches conducted on the

                        defendant's property or person.

        B.         Appellate Rights

        The defendant waives the right to appeal the conviction(s) resulting from the entry

of guilty plea(s) to the charges set forth in this agreement. The defendant firther agrees

that if the Court imposes a sentence that does not exceed the statutory maximum penalties

-   as set forth       in Section II.D above in this    agreement, the defendant waives without

exception the right to appeal on all grounds contained in l8 U.S.C. $ 3742the sentence the

Court imposes. The defendant understands that this waiver includes, but is not limited to,

forfeiture   (if   applicable), terms or conditions of probation      (if   applicable) or supervised

release, any fines or restitution, and any and           all constitutional (or legal) challenges to
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defendant's conviction(s) and guilty plea[s], including arguments that the statute(s) to

which defendant is pleading guilty (is/are) unconstitutional, and any and all claims that the

statement of facts provided herein is insuflicient to support defendant's plea[s] of guilty.

       By waiving these rights, the defendant understands that the conviction(s)                  and

sentence the Coun imposes    will be final. No other court will conduct appellate review of

the conviction(s) or the sentence.

       The defendant agrees that the appellate and collateral attack waivers contained

within this agreement will apply to any l8 U.S.C. $ 3582(c) modifications,       as   well   as the


district court's decision to deny any such modification.

       Should the defendant file a notice of appeal in violation of this agreement, it            will

constitute a material breach of the agrcement. The govemment is free to reinstate any

dismissed charges, and withdraw any motions for downward departures, or sentences

below the mandatory minimum made pursuant to l8 U.S.C. 5 3553(e).

       C.     Collateral Attack Rights

       The defendant agrees to waive all rights to collaterally attack the resulting

conviction(s) and/or sentence   -   including forfeiture (if applicable) or tenns or conditions

of probation (if applicable) or supervised release, and any fines or restitution      - the Court
imposes. The only exceptions to this collateral attack waiver are as follows:                l)   any

challenge to the conviction or sentence alleging ineffective assistance of counsel       - based
on information not now known to the defendant and which, in the exercise of reasonable

diligence, could not be known by the defendant at the time the Court imposes sentence;

and 2) a challenge to the voluntariness ofthe defendant's guilty plea(s).

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       D.     Claim for Attorney Fees and Costs

       Because this is a negotiated resolution of the case, the parties waive any claim for

the award of attomey fees and costs from the other party.

       E.     Evidence Rule 410 and Fed. R. Crim. P.         ll(f)
       By signing this agreement, the defendant admits the truth of the facts in the Factual

Basis portion of this agreement set forth in Section      II.C.   The defendant agrees that the

statements made by him in signing this agreement shall be deemed usable and admissible

against the defendant as stipulations in any hearing, trial or sentencing that may follow.

The foregoing provision acts as a modification, and express waiver, of Federal Rule              of

Evidence 410 and Federal Rule of Criminal Procedure I             l(f),   and is effective upon the

defendant's in-court admission to the factual basis supporting the plea(s). This provision

applies regardless of whether the court accepts this plea agreement.

VL     ADEQUACYOFTHEAGREEMENT

       Pursuant   to Local Criminal Rule I 1.2(d)(7) and (8), this plea              agreement is

appropriate in that it conforms with the sentencing goals that would otherwise be applicable

to the defendant's case if the defendant had gone to trial and had been convicted on all

counts in the charging instrument.

VII.   THE DEFENDANT'S ACCEPTANCf, OF THE TERMS OF THIS PLEA
       AGREEMf,NT

       I, Michael Don Robertson, the defendant, affirm this document contains all of the

agreements made between me      - with the assistance of my attomey -         and the United States

regarding my plea(s). There are no other promises, assurances, or agreements the United



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States has made or entered into with me that have affected my decision to enter any plea

of guilty or to enter into this agreement. If there are any additional promises, assurances,

or agreements, United States and I will jointly inform the Court in writing before I enter

my guilty plea(s).

         I understand that no one, including my attomey, can gwfantee the outcome of my

case or what sentence the Court may impose                if I plead guilty. If   anyone, including my

attomey, has done or said anyhing other than what is contained in this agreement, I                   will
inform the Court when I stand before it to enter my plea.

         I enter into this agreement understanding and agreeing that the conditions             set   forth

herein are obligatory and material to this agreement and that any failure on my part to            fulfill

these obligations         will   constitute a material breach of this agreement.       If I   breach this

agreement,      I   agree the United States,        in its sole discretion, may withdraw from this

agreement and may reinstate prosecution against me on any charges arising out of the

investigation in this matter.           If my compliance with the terms of this plea agreement
becomes an issue, at an appropriate hearing, during which              I   agree any of my disclosures

will   be admissible, the Court       will determine whether or not I have violated    the terms of this

agreement.          I   understand the govemment's burden          to prove a breach will be by          a

preponderance of the evidence.

         I   understand the Court       will   ask me under an oath to answer questions about the

offense(s) to which        I am pleading guilty and my understanding of this plea agreement. I

understand that         I may    be prosecuted   if I make false statements   or give false answers and

may suffer other consequences set forth in this agreement.

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         I have read this plea agreement carefully and understand it thoroughly. I know of

no reason why the Court should find me incompetent to enter into this agreement or to

enter my plea(s). I enter into this agreement knowingly and voluntarily. I understand that

anything that     I   discuss with my attomey is privileged and confidential, and cannot be

revealed without my permission. Knowing this,               I   agree that this document   will   be filed

with the Court.

         I am   fully satisfied with the representation given me by my attorney and am prepared

to repeat this statement at the time I stand before the Court and enter my guilty plea(s).            My

attomey and I have discussed al1 possible defenses to the chaxge(s) to which I am pleading

guilty. My attomey has investigated my case and followed up on any information and

issues   I have raised to my satisfaction. My attorney has taken the time to fully explain the

legal and factual issues involved in my case to my satisfaction. We have discussed the

statute(s) applicable to my offense and sentence as well as the possible effect the U.S.S.G.

may have on my sentence.

         Based on my complete understanding of this plea agreement, I therefore admit that

I am guilty of Count      I : Conspiracy to   Commit Controlled Substance Fraud, in violation          of
2l   U.S.C. $ 843(aX3) and 846; and Count 2: Health Care Fraud,                      in violation of
l8 U.S.C. $ 1347,       as charged   in the lnformation.



DATED:            -21-       1
                                                                        D     ROBERTSON
                                                           Defendant




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       As counsel for the defendant, I have conveyed all formal plea offers. I have
discussed the terms of this plea agreement with the defendant, have fully explained the
charge(s) to which the defendant is pleading guilty, the necessary elements thereto, all
possible defenses, and the consequences of a guilty plea to a felony. Based on these
discussions, I have no reason to doubt that the defendant is knowingly and voluntarily
entering into this agreement and entering a plea of guilty. I         reason to question
the defendant's competence to make these decisions.     prior       position ofsentence,
I become aware of any reason to question the de          t's c          to enter into this
plea agreement    to enter a plea of guilty, I will                 the court.

DATED:
                                                 DARR                 N
                                                 Attome                  on Robertson




       On behalfofthe United States, the following accepts the defendant's offer to plead
guilty under the terms of this plea agreement.



DATED:      V4zrr/r 4
                                                          SCHROD
                                                             of America
                                                 United States Attomev




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